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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Docket Ref. Nos.: 19 and 54

                                                      Objections Due: August 31, 2023 at 4:00 P.M. (ET)
                                                     Hearing Date: September 14, 2023 at 2:00 P.M. (ET)

NOTICE OF HEARING ON MOTION OF THE DEBTORS FOR INTERIM AND FINAL
       ORDERS (I) AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION
      FINANCING AND (B) TO UTILIZE CASH COLLATERAL, (II) GRANTING
        ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES,
(III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FINAL HEARING,
                    AND (V) GRANTING RELATED RELIEF

                 PLEASE TAKE NOTICE that on August 10, 2023, the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”) filed the Motion of the Debtors for Interim

and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize

Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,

(III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related

Relief [Docket No. 19] (the “Motion”). A copy of the Motion is attached hereto as Exhibit A.

                 PLEASE TAKE FURTHER NOTICE that on August 11, 2023, the United States

Bankruptcy Court for the District of Delaware (the “Court”) entered an Interim Order

(I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the


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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
    Suite 100, Emeryville, CA 94608.
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Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “Interim

Order”) [Docket No. 54]. A copy of the Interim Order is attached hereto as Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that any objections to entry of a final

Order granting the relief requested in the Motion are due on or before August 31, 2023 at

4:00 p.m. (prevailing Eastern Time) and must be filed with the Court and served on the below

proposed counsel for the Debtors.

                 PLEASE TAKE FURTHER NOTICE that a hearing to consider the final relief

requested in the Motion will be held before the Honorable Thomas M. Horan at the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor, Courtroom 7,

Wilmington, Delaware 19801, on September 14, 2023 at 2:00 p.m. (prevailing Eastern Time).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.



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 Dated: August 14, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

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                                              Proposed Counsel to the Debtors and
                                              Debtors-in-Possession




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